8:13-cr-00114-LSC-FG3              Doc # 92       Filed: 09/16/13   Page 1 of 1 - Page ID # 162



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                      Plaintiff,                  )   8:13CR114
                                                  )
                      vs.                         )   ORDER FOR DISMISSAL
                                                  )
VICTOR ACERO,                                     )
                                                  )
                      Defendant.                  )



       Pursuant to Motion of the United States (Document Number 91), pursuant to Federal Rule

of Criminal Procedure 48(a), leave of court is granted for the dismissal of the Indictment against

Victor Acero.

       IT IS ORDERED that the Motion to Dismiss the Indictment against defendant Victor

Acero (Document Number 91) is granted.


       Dated this __}i;!:day of September, 2013.

                                                  BY THE COURT:




                                          ~'JR~
                                              .     URIE SMITH CA
                                                  ChiefUnited States District Judge
